            Case 3:18-cv-00387-KC Document 1 Filed 12/18/18 Page 1 of 7



                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                                    FILED
                                  EL PASO DIVISION                               2U?8   OEC   I   PM   l




UNITED STATES OF AMERICA,                        §
                                                                                              D:TICT COUT
                                                                                                   o TCX
                                                 §
      PETITIONER,                                §
                                                 §      JUDGE KATHLEEN CARDONE
 V.
                                                 §
                                                 §
CESSNA 172N, SINGLE ENGINE FIXED                 §   CIVIL ACTION NO.
WING AIRCRAFT, SERIAL NUMBER                     §
17271672, TAIL NUMBER N4881E, and
ALL ASSOCIATED KEYS, FLIGHT
                                                 §
                                                 §
                                                        EP1 8
LOGS, AIRCRAFT LOG BOOKS,                        §
OWNER'S MANUALS, and                             §
MAINTENANCE RECORDS,                             §
                                                 §
      RESPONDENT.                                §


                       VERIFIED COMPLAINT FOR FORFEITURE

        Comes now Petitioner United States of America, acting by and through the United States

Attorney for the Western District of Texas and the undersigned Assistant United States Attorney,

pursuant to Rule G, Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions, Federal Rules of Civil Procedure, and respectfully states as follows:

                                                I.
                                 NATURE OF THE ACTION

        This action is brought by the United States of America seeking forfeiture to the United

States of the property described below:

        Cessna 172N, single engine fixed wing aircraft, serial number 17271672, tail
        number N4881E and all associated keys, flight logs, aircraft log books, owner's
        manuals, and maintenance records,

hereinafter referred to as the "Respondent Property."
             Case 3:18-cv-00387-KC Document 1 Filed 12/18/18 Page 2 of 7



                                            II.
                              STATUTORY BASIS FOR FORFEITURE

         This is a civil forfeiture action       in   rem brought against the Respondent Property for the

violation of Title 49 U.S.C.      §   46306, and subject to forfeiture to the United States pursuant to

Title 49 U.S.C.   §    463 06(d)(1) and (2)(C)(ii).

         Title 49 U.S.C. § 46306. Registration violations involving aircraft not providing air
         transportation
            ***
           (d) Seizure and forfeiture.(1) The Administrator of Drug Enforcement or the
           Commissioner of U.S. Customs and Border Protection may seize and forfeit under the
           customs laws an aircraft whose use is related to a violation of subsection (b) of this
           section, or to aid or facilitate a violation, regardless of whether a person is charged with
           the violation.
             (2) An aircraft's use is presumed to have been related to a violation of, or to aid or
             facilitate a violation       of
               (C) subsection (b)(4) of this section
                  ***
                                                               if
                   (ii) the application form used to obtain the aircraft certificate of registration
                  contains a material false statement;         .




                                                III.
                                      JURISDICTION AND VENUE

         Under Title 28 U.S.C.        §   1345, this Court has jurisdiction over an action commenced by

the United States, and under Title 28 U.S.C.           §   1355(a), jurisdiction over an action for forfeiture.

This Court has    in   rem   jurisdiction over the Respondent Property under Title 28 U.S.C.                §

1355(b) and 1395(b).           Venue is proper in this district pursuant to Title 28 U.S.C.

§   1355(b)(1)(A), because the acts or omissions giving rise to the forfeiture occurred in this

District, and pursuant to Title 28 U.S.C.         §    1355(b)(1)(B) and 1395(b) because the Respondent

Property was seized in this District.




                                                           2
           Case 3:18-cv-00387-KC Document 1 Filed 12/18/18 Page 3 of 7



                                             Iv.
                         FACTS IN SUPPORT OF FORFEITURE

       On July 17, 2018, at approximately 7:00 a.m., United States Customs and Border

Protection (CBP), Air and Marine Operations (AMO), Air Interdiction Agent (AlA) Anthony

Cooper (Agent Cooper) identified a suspect aircraft bearing tail number N4881E in the

Advanced Passenger Information System (APIS) departing the United States for the Republic of

Mexico at approximately 8:00 a.m. that same day.

       Agent Cooper identified the listed pilot and sole passenger of N4881E as Alfonso

Enriquez Hernandez (Enriquez Hernandez), a Mexican national.

       Agent Cooper conducted       a preliminary check     utilizing the Federal Aviation

Administration N-Number query, which yielded a positive result for N4881E. The registration

for N4881E listed the Respondent Property, registered to Alfonso Enriquez, 12410 Sombra

Alegre Dr., El Paso, Texas 79938.

       At approximately 7:45 a.m., Homeland Security Investigations (HSI) Special Agent Paul

Zacchigna (Agent Zacchigna) identified a black in color Chrysler Town and Country minivan

bearing Chihuahua, Mexico license plated EKD8276. Agent Zacchigna followed the vehicle to

the general aviation hangars located at the El Paso International Airport (EPIA).      Agent

Zacchigna witnessed a male occupant open a hangar revealing the Respondent Property with tail

number N4881E.

       At approximately 8:00 a.m., CBP AMO Aviation Enforcement Agent Luis Yanez (Agent

Yanez) contacted EPIA tower to reroute the Respondent Property to the U.S. Customs Ramp

area of EPIA.

       At approximately 8:10 a.m., the Respondent Property arrived at the U.S. Customs Ramp

area of EPIA and parked. The pilot exited the aircraft and was approached by Agent Zacchigna,

                                              3
              Case 3:18-cv-00387-KC Document 1 Filed 12/18/18 Page 4 of 7



Agent Yanez, and Agent Cooper. The pilot identified himself as Alfonso Enriquez Hernandez.

Agent Cooper requested Enriquez Hernandez's pilot certificate as part of a pilot's certificate

inspection.      Enriquez Hernandez provided his U.S. Pilot's Certificate along with proof of

medical evaluation. The pilot certificate listed Enriquez Hernandez by the name of, Alfonso

Enriquez, Sr., and with the address of Periferico de la Juventus #8727, 31123 Chihuahua,

Mexico.

        Enriquez Hernandez also provided the agents with the registration for the Respondent

Property. The registration listed the Respondent Property as registered to Alfonso Enriquez,

12410 Sombra Alegre Dr., El Paso, Texas 79938.

        During the pilot's certificate inspection, Enriquez Hernandez identified himself as the

registered owner of the Respondent Property. Enriquez Hernandez advised the agents he used

the Respondent Property to facilitate his business in Chihuahua, Mexico, where he bought and

sold musical instruments. Enriquez Hernandez further advised he would fly to the United States

to purchase musical instruments and other store-bought essentials and would return to Mexico.

Enriquez Hernandez stated he owned a house located in El Paso at 12410 Sombra Alegre Dr., El

Paso, Texas 79938, but resided in Mexico. Enriquez Hernandez advised the agents he purchased

the Respondent Property and registered it in his own name. He did not attempt to register the

aircraft under a trust or under a United States based corporation. Enriquez Hernandez stated he

registered the Respondent Property in the United States, because Mexican authorities would not

scrutinize it. Enriquez Hernandez stated he believed the Mexican government "saw all Mexican

tail numbers as drug smugglers." Enriquez Hernandez also stated he registered the Respondent

Property in the United States, because it was cheaper, and maintenance and other services were

more reliable.



                                               ru
           Case 3:18-cv-00387-KC Document 1 Filed 12/18/18 Page 5 of 7



        Following the pilot's certificate inspection, Agent Yanez approached the Respondent

 Property to conduct a Southbound customs inspection to include a check for immigration

documents. At that time, Enriquez Hernandez presented his duly issued Bl/B2 Visa bearing his

photo, name, and date of birth.     Enriquez Hemandez also presented a duly issued Mexican

passport also bearing his photo, name, and date of birth. Enriquez Hernandez advised agents he

was a non-immigrant and had no current applications for immigrant status.

       Agent Cooper contacted Federal Aviation Administration Special Agent Kenny

Maldonado (Agent Maldonado), and advised him of the inspection of the Respondent Property

and pilot/owner Enriquez Hernandez. At that time, Agent Maldonado informed Agent Cooper

that due to the aircraft registration violation the Respondent Property was eligible for

administrative seizure under Title 49 U.S.C.   §   46306.

       At approximately 9:30 a.m., agents advised Enriquez Hernandez the Respondent Property

would be seized and taken into custody.

       Subsequently, Agent Zacchigna discovered via the FAA.gov website, in order to register

an aircraft, an applicant must send the following documents to the Aircraft Registration Branch

in Oklahoma: 1) an Aircraft Registration Application form (FAA AC Form 8050-1); 2) an

aircraft bill of sale as evidence of ownership (FAA AC Form 8050-2); and 3) a $5.00 registration

fee made payable to the FAA.

       Agent Zacchigna received documents provided by the FAA, specifically FAA AC Form

8050-1 Aircraft Registration Form, indicating the Respondent Property was applied for

registration by Alfonso Enriquez, at address 12410 Sombra Alegre Dr., El Paso, Texas 79938. In

said document, Enriquez Hernandez listed himself as the individual owner, certifying he is a

citizen of the United States or meets the aircraft registration citizenship requirements of 14



                                                   5
            Case 3:18-cv-00387-KC Document 1 Filed 12/18/18 Page 6 of 7



 C.F.R. Part 47. Enriquez Hernandez signed the document on August 4, 2016, indicating he

 understood a false or dishonest answer to any question in the application may be grounds for

 punishment by fine and/or imprisonment under Title 18 U.S.C.   §   1001.

        Based upon the foregoing, the Respondent Property is subject to forfeiture pursuant to

 Title 49 U.S.C.   §   46306(d)(1) and (2)(C)(ii), as property involved in violation of Title 49

 U.S.C. § 46306.

                                                V.
                                            PRAYER

        WHEREFORE, Petitioner, United States of America, prays that due process issue to

enforce the forfeiture of the Respondent Property, that due notice, pursuant to Rule G(4), be

given to all interested parties to appear and show cause why forfeiture should not be decreed,'

that a warrant for an arrest in rem be ordered, that the Respondent Property be forfeited to the

United States of America, that the Respondent Property be disposed of in accordance with the

law, and for any such further relief as this Honorable Court deems just and proper.


                                                     Respectfully submitted,

                                                     JOHN F. BASH
                                                     United States Attorney for the
                                                     Western District of Texas


                                             By:
                                                     Kristal . Wade
                                                     Assistant United States Attorney
                                                     New Mexico Bar No. 8204
                                                     700 E. San Antonio Ave., Suite 200
                                                     El Paso, Texas 79901
                                                     Tel: (915) 534-6884
                                                     Fax: (915) 534-3461


'Appendix A, Notice of Complaint of Forfeiture, which is being filed along with this complaint,
will be sent to those known to the United States to have an interest in the Respondent Property.
             Case 3:18-cv-00387-KC Document 1 Filed 12/18/18 Page 7 of 7



                                              VERIFICATION

        Special Agent, Paul Zacchigna, declares and says that:

        I am a Special Agent with Homeland Security Investigations, assigned to the El Paso

Field Office, and I am the investigator responsible for the accuracy of the information provided

in this complaint.

        I have read the above Verified Complaint for Forfeiture and         know the contents thereof

based upon my personal participation in the investigation, my conversations with others, and my

review of documents and other evidence. Based upon information and belief, the allegations

contained in the Verified Complaint for Forfeiture are true and correct. Because the Verified

Complaint is being submitted for the limited purpose of stating sufficiently detailed facts to

support a reasonable belief that the government will be able to meet its burden of proof at trial, it

does not contain every fact known by me or the United States. Where the actions, conversations,

and statements of others are related therein, they are related in substance and in part, unless

otherwise stated.

       I declare under penalty     of perjury that the foregoing is true and correct to the best of my
knowledge.

       Executed on this the   1
                                  8th
                                        day of Deçeiiber, 201



                                            Special AgentarII Zacchigna
                                            Homelanj_8urity Investigation
                                             Case 3:18-cv-00387-KC Document 1-1 Filed 12/18/18 Page 1 of 1
JS44 (Res 12112)

The JS 44 civil cover sheet and the information contained herein
                                                                                                   CIVIL
                                                                    neither replace nor supplement the
                                                                                                                         COVER SHEEP
                                                                                                                                                       fihtne 1 .8                                                    03
                                                                                                                                                                                                                       il            by law, except as
                                                                                                                                                                                                                                      Court for the
provided by local  rules of court, This form, approved   by the Judicial Conference of the United States
                                                                                    Qj; il-US 10P.M.)
                                                                                                                                                        inj
        of initiating the civil docket sheet, (Sl!/!INSIRU("I'JONSONNI1X7'PA(ili                                                                                                                                                rrnpurpose
                                                                                                                                                  DEFENDANTS
I. (a) PLAINTIFFS                                                                                                                              Cessna 1 72N, single engine fixed wi              aI gjile          ira,
UNITED STATES OF AMERICA
                                                                                                                                               17271672, tail number N4881E and             at&Pey1iiM                                                     k,
                                                                                                                                               aircraft log books, owner's manuals, and maintenance records
                                                                                                                                                  County of Residence of First Listed Defertdar
                                                                                                                                                                                                                                      ItIT         .

        (b) County of Residence of First Listed Plaintiff
                                                                                                                                                                                    QN (15.
                               (EXCEPT/N US. PlAINT/IF ('AS/iS)
                                                                                                                                                  NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATI
                                                                                                                                                              THE TRACT OF LAND IN VOL VED. y
                                                                                                                                                                                                                                             Si



                                                                                                                                                   Attorneys (if Knoss'n)
        (c) Attorneys ty'irin Name,              Address', and le/ephone Nuinhefi
Kristal M. Wade, Assistant United States Attorney
700 E. San Antonio, Suite 200
El Paso, Texas 79901        (915) 534-6884

 II. BASIS OF JURISDICTION                                         ('/'/acean "X"inOiseBoxOnls)                                  LII.    CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X"snOne/Soxy)rPlaint;ff
                                                                                                                                              (I"or /hi'er.sitv Cases' Only,)              Defendant)                      and One Bar for
                                                                                                                                                                            PTF          DEF                                                 PTF            DEF
                U.S. Government                        3     Federal Question
        1

                                                                   (U.S. (Joi'ern,neni Not a Party)                                     Citizen of This State               0   1        0     1   Incorporated i,r Principal Place          0     4        0   4
                   Plaintiff                                                                                                                                                                          of Business In This State

                                                                                                                                        Citizen of Another State            0   2        0     2   Incorporated and Principal Place          0         5    0   5
        2       U.S. Government                        4 Diversity
                                                                   (Indicate ('itizen.s'hsp   (if Part,e.s        Item IlI                                                                            of Business In Another State
                   Defendant                                                                                 it




                                                                                                                                        Citizen or Subject of a             0   3         0    3    Foreign Nation                           0         6    0   6



    IV.         NATI JRF.       (iF SI lIT (P1,,,,'         ,,,,   "5",,'(),,,' R,,v ()v/,'i
                                                                                                                                                                                                                                 OTHER STATUTES
                                                                                     TORTS                                                   FORFEITURE/PENALTY                               BANKRUPTCY                                                            I
I                   CONTRACf
                                                                                                                                             625 Drug Related Seizure                   422 Appeal 28 USC 158                  375 False Claims Act
        110 Insurance                                 PERSONAL INJURY                             PERSONAL I!NJURY
                                                                                                  365 Personal Injuiy                            of Property 21 USC 881                 423 Withdrawal                         400 State Reapportionment
        120 Marine                          310 Airplane                                                                     -


                                                                                                       Product Liability                     690 Other                                      28 USC 157                         410 Antitrust
        130 Miller Act                       315 Airplane Product
                                                                                                  367 Healih Care!                                                                                                             430 Banks and Banking
        140 Negotiable lnstnunent                Liability
                                                                                                      Phanisaceutical                                                                   PROPERTY RIGHTS                        450 Commerce
        150 Recoveiy of Overpayment          320 Assault, Libel &
                                                                                                      Personal liuiy                                                                    820 Copyrights                         460 Deportation
                & Enforcement of Judgment        Slander
                                                                                                                                                                                        830 Patent                             470 Racketeer Influenced and
            151 Medicare Act                 330 Federal Employers'                                   Product Liability
                                                                                                  368 Asbestos Personal                                                                 840 Trademark                              Corrupt Organizations
            152 Recovery of Defaulted            Liability
                                                                                                       Injury Product                                                                                                          480 Consumer Credit
                Student Loans                340 Marine
                                                                                                       Liability                                       LABOR                            SOCIAL SECURITY                        490 Cable/Sat TV
                (Excludes Veterans)          345 Marine Product
                                                                                               PERSONAL PROPERTY                             710 Fair Labor Standards                   861 HIA (1395ff)                       850 Securities/Commodities!
            153 Recovery of Overpayment           Liability
                                                                                                  370 Other Fraud                                 Act                                   862 Black Lung (923)                       Exchange
                of'eieran's Benefits         350 Motor Vehicle
                                                                                                  371 Truth in Lending                       720 Labor/Management                       863 DIWC/DIWW (4OS(g))                 890 Other Statutoiy Actions
            160 Stockholders' Suits          355 Motor Vehicle
                                                                                                  380 Other Personal                              Relations                             864 SSID Title XVI                     891 Agricultural Acts
            190 Other Contract                   Product Liability
            195 Contract Product Liability   360 Other Personal                                       Property Damage                    0   740 Railway Labor Act                  0   865 RSI (405(g))                   0   893 Environmental Matters
                                                                                              0   385 Properf) Damage                    0   751 Family and Medical                                                        0   895 Freedom of Infonnation
    0       196 Franchise                        Injury
                                                                                                                                                 Lease Act                                                                          Act
                                           0 362 Pemonal Injury -                                     Product Liability
                                                                                                                                                                                                                           0   896 Arbitration
                                                 Medical Malpractice                                                                     0   790 Other Labor Litigation

    fl0     210
                  REAL PROPERTY
                  Land Condenmation
                                            ::
                                                           CIVIL RIGHTS
                                                    0 440 Other Civil Rights
                                                                                               PRISONER PETITIONS
                                                                                                  Habeas Corpus:
                                                                                                                                         0   791 Employee Retirement
                                                                                                                                                 Income Security Act                0
                                                                                                                                                                                        FEDERAL TAX SUITS
                                                                                                                                                                                        870 Taxes (U.S. Plaintiff
                                                                                                                                                                                                                           0   899 Administrative Procedure
                                                                                                                                                                                                                                   ActlReview or Appeal of
                                                                                              0                                                                                               or Defendant)                        Agency Decision
    0 220         Foreclosure                       0 441 Voting                                  463 Alien Detainee
                                                                                                                                                                                                                           0
    0 230         Rent Lease & Ejectment            0 442 Employment                          0   510 Motions to Vacate                                                             0 871 IRSThird Party                       950 Constitutionality of
                                                                                                                                                                                              26 USC 7609                          State Statutes
    0 240         Torts to Land                     0 443 Housing!                                    Sentence
    0       245   Tort Product Liability                  Accommodations       0                  530 General
    0       290   All Other Real Property           0 445 Amer. w/Disabiliiies 0         -        535 Death Penalty                               IMMiGRATION
                                                          Employment                              Other:                                 0   462 Naturalization Application
                                                    0 446 Amer. w/Disabilities 0         -        540 Mandamus & Other                   0   465 Other Immigration
                                                          Other                0                  550 Civil Rights                               Actions
                                                    0 448 Education            0                  555 Prison Condition
                                                                               0                  560 Civil Detainee -
                                                                                                       Conditions of
                                                                                                       Confinement

    V. ORIGIN                  'Place an   "X" in One Box Only)
            I     Original          02       Removed from                       0    3        Remanded from                      0   4 Reinstated or            0   5   Transferred from             0   6 Multidistrict
                                             State Court                                      Appellate Court                            Reopened                       Another District                      Litigation
                  Proceeding                                                                                                                                            (ipeci/()
                                                           Cite the U S. Civil Statute under which you are filing (Do not cite jurisdictional Statutes unless diversity).
                                                           49 U.S.C. § 46306(d)(1) and (2)(C)(ii)
    VI. CAL.SE OF ACTI....                                 Brief description of cause:
                                                           Registration violation involving aircraft not providing air transportation (49 U.S.C. § 46306)
                                                                      IF THIS IS A CLASS ACTION          DEMAND S                        CHECK YES only if demanded in complaint:
    VII. REQUESTED IN                                              CHECK
                                                                   UNDER RULE 23, F.R Cv.P                                                                                                         JURY DEMAND:                  0   Yes          0 No
         COMPLAINT:
    VIII. RELATED CASE(S)
                                                               (See Inst ruclion.i):
          IF ANY                                                                              JUDGE                                                                                      DOCKET NUMBER

     DATE
     12/18/2018

                                                                                                        APPLYING IFP                                                JUDGE                                      MAG. JUDGE
             RECEIPT #                           AMOUNT
           Case 3:18-cv-00387-KC Document 1-2 Filed 12/18/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                                                                            HLED
                                   EL PASO DIVISION                                2R18OECI        pit

 UNITED STATES OF AMERICA,                           §                              I:N
                                                                                        .    )iT.f     CW
                                                                                            4I.TRICT OF 1EX

      PETITIONER,
                                                     §
                                                     §
                                                                                             Sc
                                                     §   JUDGE KATHLEEN CARDONE
 v.
                                                     §
                                                     §
CESSNA 172N, SINGLE ENGINE FIXED                     §   CIVIL ACTION NO.
WING AIRCRAFT, SERIAL NUMBER
17271672, TAIL NUMBER N4881E, and
ALL ASSOCIATED KEYS, FLIGHT
                                                     §
                                                     §
                                                     §
                                                         EPiSCVO
LOGS, AIRCRAFT LOG BOOKS,                            §
OWNER'S MANUALS, and                                 §
MAINTENANCE RECORDS,                                 §
                                                     §
      RESPONDENT.                                    §


                       NOTICE OF COMPLAINT FOR FORFEITURE

        On December 18, 2018, the United States of America, by and through its United States

Attorney for the Western District of Texas and the undersigned Assistant United States Attorney,

filed a Verified Complaint for Forfeiture against the property described below, which is also

specifically described in the Verified Complaint for Forfeiture, and which is subject to forfeiture

to the United States pursuant to Title 49 U.S.C.         §   46306(d)(1) and (2)(C)(ii), as property

involved in violation of Title 49 U.S.C.   §   46306, namely:

        Cessna 172N, single engine fixed wing aircraft, serial number 17271672, tail
        number N4881E and all associated keys, flight logs, aircraft log books, owner's
        manuals, and maintenance records,

hereinafter referred to as the "Respondent Property."

       Pursuant to Rule G(4)(b) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions, notice to any person who reasonably appears to be a potential

claimant shall be by direct notice. Accompanying this notice is the Verified Complaint for
          Case 3:18-cv-00387-KC Document 1-2 Filed 12/18/18 Page 2 of 2



Forfeiture which has been filed in this cause and which describes the Respondent Property.

Pursuant to Supplemental Rule G(4)(b), any person claiming an interest in the Respondent

Property who has received direct notice of this forfeiture action must file a Claim in compliance

with Rule G(5)(a), with the court within thirty-five (35) days after the notice was sent, if

delivered by mail (if mailed, the date sent is provided below), or within 35 days of the date

of delivery, if notice was personally served. An Answer or motion under Rule 12 of the

Federal Rules of Civil Procedure must then be filed within twenty-one (21) days of the Claim

being filed. The Claim and Answer must be filed with the Clerk of the Court, 525 Magoffin,

Suite 105, El Paso, Texas 79901, and copies of each must be served upon Assistant United States

Attorney Kristal M. Wade, 700 E. San Antonio Aye, Suite 200, El Paso, Texas 79901, or default

and forfeiture will be ordered.    See   Title 18 U.S.C.   §   983(a)(4)(A) and Rule G(5) of the

Supplemental Rules for Admiralty or Maritime Claim and Asset Forfeiture Actions.

       Failure to follow the requirements set forth above will result in a judgment by default

taken against you for the relief demanded in the complaint.



       DATE NOTICE SENT:



                                                    JOHN F. BASH
                                                    United States Attorney
                                                    for the Western District of Texas


                                                    Kristal M. Wade
                                                    Assistant United States Attorney
                                                    New Mexico Bar No. 8204
                                                    700 E. San Antonio Ave., Suite 200
                                                    El Paso, TX 79901
                                                    Tel: 915-534-6884
                                                    Fax: 915-534-3461


                                               2
                                                                                         Appendix A
          Case 3:18-cv-00387-KC Document 1-3 Filed 12/18/18 Page 1 of 2


                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS                               FILED
                                 EL PASO DIVISION
                                                                         2D1øOECl          FNfl
UNITED STATES OF AMERICA,                       §
                                                                                *
                                                                                                     ;;çT
                                                §                          TEN        TR1C     OF   Tx AS
      PETITIONER,                               §
                                                §
 V.
                                                §
                                                      JUDGE    KmLEE       ICAR
                                                §
CESSNA 172N, SINGLE ENGINE                      §   CIVIL ACTION NO.
FIXED WING AIRCRAFT, SERIAL                     §         '-' Pr'                          c
NUMBER 17271672, TAIL NUMBER
N4881E, and ALL ASSOCIATED KEYS,
                                                §
                                                §
                                                     J1it'1bi                       uüo
                                                                                    'i-i




FLIGHT LOGS, AIRCRAFT LOG                       §
BOOKS, OWNER'S MANUALS, and                     §
MAINTENANCE RECORDS,                            §
                                                §
      RESPONDENT.                               §



                     WARRANT FOR THE ARREST OF PROPERTY

TO THE UNITED STATES CUSTOMS AND BORDER PROTECTION, OFFICE OF
FINES,  PENALTIES   AND    FORFEITURES,  HOMELAND    SECURITY
INVESTIGATIONS OR OTHER AUTHORIZED LAW ENFORCEMENT OFFICER OR
ANY OTHER PERSON OR ORGANIZATION AUTHORIZED BY LAW TO ENFORCE
THE WARRANT:

        WHEREAS, on December 18, 2018, Petitioner United States of America, by its

attorneys, John F. Bash, United States Attorney for the Western District of Texas, and Assistant

United States Attorney Kristal M. Wade, filed a Verified Complaint for Forfeiture in the United

States District Court for the Western District of Texas, against Cessna 1 72N, single engine fixed

wing aircraft, serial number 17271671, tail number N4881E and all associated keys, flight logs,

aircraft log books, owner's manuals, and maintenance records, seized on or about July 19, 2018,

in El Paso, Texas, in the Western District of Texas (hereinafter referred to as the "Respondent

Property"), alleging that the Respondent Property is subject to forfeiture to the United States of
           Case 3:18-cv-00387-KC Document 1-3 Filed 12/18/18 Page 2 of 2

America pursuant to Title 49 U.S.C.           §   46306(d)(1) and (2)(C)(ii), as property involved in

violations of Title 49 u.s.c.   §   46306, and

       WHEREAS an Order has been entered by the United States District Court for the

Western District of Texas that a Warrant for Arrest of Property be issued as prayed for by

Petitioner United States of America,

       YOU ARE THEREFORE COMMANDED to arrest the Respondent Property as soon as

practicable by serving a copy of this warrant on the custodian in whose possession, custody or

control the Respondent Property is presently found, and to use whatever means may be

appropriate to protect and maintain it in your custody until further order of this Court, including

designating a substitute custodian or representative for the purposes of maintaining the care and

custody of the Respondent Property and to make a return as provided by law.



       SIGNED this                   day of                                 ,   2018.


                                                         JEANNETTE J. CLACK
                                                         United States District Clerk
                                                         Western District of Texas


                                                  By:
                                                         Deputy




                                                     2
          Case 3:18-cv-00387-KC Document 1-4 Filed 12/18/18 Page 1 of 2


                          UNITED STATES DISTRICT COURT
          2U1              WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

UNISTATESOF AMERICA,                               §
                                                   §
     PETITIONER,                                   §
                                                   §
                                                          JUDGE KATHLEEN CARDONE
V.                                                 §
                                                   §
CESSNA 172N, SINGLE ENGINE FIXED                   §     CIVIL ACTION NO.
WING AIRCRAFT, SERIAL NUMBER                       §
17271672, TAIL NUMBER N4881E, and                  §
ALL ASSOCIATED KEYS, FLIGHT
LOGS, AIRCRAFT LOG BOOKS,
                                                   §
                                                   §
                                                          EI'i
OWNER'S MANUALS, and                                §
MAINTENANCE RECORDS,                                §
                                                    §
     RESPONDENT.                                    §


                 ORDER FOR WARRANT OF ARREST OF PROPERTY

        WHEREAS, on December 18, 2018, Petitioner United States of America, by its

attorneys, John F. Bash, United States Attorney for the Western District of Texas, and Assistant

United States Attorney Kristal M. Wade, filed a Verified Complaint for Forfeiture in the United

States District Court for the Western District of Texas, against one Cessna 1 72N, single engine

fixed wing aircraft, serial number 17271671, tail number N488 1 E and all associated keys, flight

logs, aircraft log books, owner's manuals, and maintenance records, seized on or about July 19,

2018, in El Paso, Texas, in the Western District of Texas (hereinafter referred to as the

"Respondent Property"), alleging that the Respondent Property is subject to forfeiture to the

United States of America pursuant to Title 49 U.S.C.       §   46306(d)(1) and (2)(C)(ii), as property

involved in violations of Title 49 U.S.C.   §   46306,

        IT IS THEREFORE ORDERED that a Warrant for the Arrest of Property against the

Respondent Property issue as prayed for, and that the United States Customs and Border
          Case 3:18-cv-00387-KC Document 1-4 Filed 12/18/18 Page 2 of 2

                                                                                  Investigations,
Protection, Offices of Fines, Penalties and Forfeitures, and/or Homeland Security
                                                                                     by law to
or any other law enforcement officer, or any other person or organization authorized
                                                                                     possession
enforce the warrant, be commanded to arrest the Respondent Property and take it into

for safe custody as provided by Rule G, Supplemental Rules of Federal Rules of Civil
                                                                                     Procedure,

until further order of the Court, and to use whatever means may be appropriate to protect
                                                                                          and

maintain it in their custody, including designating a substitute custodian or representative for the

purposes of maintaining the care and custody of the Respondent Property, and to make a return

as provided by law.

        SIGNED this          day of                            ,   2018.



                                                      UNITED STATES DISTRICT JUDGE
